959 F.2d 1102
    295 U.S.App.D.C. 98
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.OFFSHORE TELEPHONE COMPANY, Petitioners,v.FEDERAL COMMUNICATIONS COMMISSION, Respondent.
    No. 91-1263.
    United States Court of Appeals, District of Columbia Circuit.
    April 10, 1992.
    
      Before WALD, HARRY T. EDWARDS and D.H. GINSBURG, Circuit Judges.
    
    JUDGMENT
    PER CURIAM
    
      1
      This case was considered on the administrative record from the Federal Communications Commission and on the briefs and oral argument of counsel.   The court has determined that the issues presented occasion no need for a published opinion.   See D.C.CIR.R. 14(c).   Substantially for the reasons given by the Federal Communications Commission and its Common Carrier Bureau, it is
    
    
      2
      Ordered AND Adjudged THAT THE PETITION FOR REVIEW IS DENIED.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after the disposition of any timely petition for rehearing.   See D.C. CIR.R. 15(b)(2).
    
    